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                            SO U TH ERN D ISTRICT O F FLOR ID A

                              CaseNo.1 0'1% 04 'JDo
  UNITED STATES O F AM ER ICA



   M AIKEL JO SE M OR ENO PEREZ,

                   Defendant.
                                          /


                                 CRIM INA L C OV ER SH EET
      D id this m atter originate from a m atter pending in the CentralRegion ofthe United States
      Attomey'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?                     Yes V No
  2. Did thism atteroriginate from a m atterpending in the N orthern Region ofthe United States
      Attorney'sOfficepriortoAugust8,2014(M ag.JudgeShaniekMaynard)?                Yes V No


                                              Respectfully subm itted,

                                              A RIANA FA JA RD O O RSHAN
                                              U N ITED STA TES A TTORNEY
                                                    <.

                                     BY:                      P
                                              M ICHAEL N .BERGER
                                              A SSISTAN T UN ITED STATES ATTO RN EY
                                              D istrictCourtN o.A 5501557
                                              99 N .E.41 Street
                                              M iam i,Florida 33132
                                              Tel:       305-961-9445
                                              Fax:       305-536-5321
                                              Email: michael.bergerz@usdoj.gov
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AO 91(Rev.08/09) CriminalComplaint

                                U NITED STATES D ISTRICT COURT
                                                          forthe
                                               Southern DistrictofFlorida

               United StatesofAmerica
                                                                   CaseNo.Jûx P'X CV + 0
              MaikelJose Moreno Perez,




                                               CRIM INAL COM PLAINT

         1,thecomplainantin thiscase,state thatthefollowing istrueto thebestofmy u owledgeand belief.
Onoraboutthedatets)of                      2012-2018             inthecountyof              Miami-Dade          inthe
   Southern    Districtof                 Flori
                                              da         ,thedefendantts)violated:
           CodeSection                                               OyenseDescription
        18U.S.C.j 1956(h)                  Conspiracyto CommitMoney Laundering Offenses
        18U.S.C.j 1957                     Engaging in MonetaryTransactions in Propedy Derived from Specified
                                           UnlawfulActivity




        n iscrim inalcomplaintisbased on thesefacts'
                                                   .
See attached affidavi
                    t.



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         W Continuedontheattachedsheet.
                                                                                                I



                                                                                  Complainant'
                                                                                             ssi
                                                                                               gnature

                                                                    Shauna W illard H melan Securit In estiati
                                                                                                             ons
                                                                                     P ntedna       and title

Swom tobeforeme and signed in my presence.


Date:         03/12/2020
                                                                                       Jh# 'ssi
                                                                                              gnature

City andstate:                       Mi
                                      ami,Florida                       John J. 'Sullivan U.S.M a istrate Jud e
                                                                                     Printed nameand title
                                                                 Jo .àqol K o
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                                         AFFIDA V IT

        1,Shauna L.W illard,being firstduly sworn hereby depose and state asfollows:

                                     INTRO DUCTION

         1.    1am aSpecialAgentwithHomelandSecuritylnvestigations($iHSI'').1havebeen
  employed with HSlfor 16 years. 1 am currently assigned to a group thatinvestigates M oney

  Laundering,Bulk Cash Smuggling,andFraud.lam aCertifiedAnti-M oneyLaundering Specialist

  under the Association of Certified Anti-M oney Laundering Specialists. M oreover, I have

  conducted and participated in investigations of violations of United States laws relating to

  violationsoftinanciallaws,such asmoney laundering.

         2.     l m ake this aftidavit in supportof a criminal complaint charging M aikel Jose

  M orenoPerezwith violationsofTitle 18,United StatesCode,Sections 1956(h)(conspiracy to
  commitmoneylaundering)and 1957(engaginginmonetarytransactionsinpropertyderivedfrom

  specifiedunlawfulactivity).
         3.     Thefactscontained within thisaffidavitare both personally known by me,aswell

  asrelayed by others,including mem bersof1aw enforcem entand otherwitnesses. Thisax davit

  setsforth only thosefactsthatIbelieveare necessaryto establish probablecause.Assuch,Ihave

  notincluded each and every factknown aboutthisinvestigation.

                                        BA CK G R O U ND

                M aikelJoseM orenoPerez(ç$M oreno''),hereinafterreferred to asthedefendant,
   isthePresidentofthe Supreme TribunalofJusticein Venezuelaand hasserved in thisrole since

   in or around February 20l7. Priorto thisrole,Moreno served variousrolesin thejudiciary in
   Venezuela,including ashead ofthecriminaldivision ofVenezuela'shighestcourt.
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         5.     Co-conspirator1isaformercrim inaldefenseattorney inVenezuelathatcurrently

  controlsamedia company in Venezuela.

         6.     Asnoted by severalindependentagencies,Venezuela has suffered from extreme

  levels ofcorruption over the lastseveralyears. During thatperiod,Transparency International

  ranked Venezuela asthe mostcorruptcountry in the W estern Hemisphere.Sim ilarly,the W orld

  JusticeProjectranked Venezuelalastnmongrated countriesforruleoflaw,including lastin the
  areaofcriminaljustice.
                                           Investigation

                In late 2017,federal1aw enforcem entopened an investigation into com zption at

  Venezuela's state-owned oi1company- petr6leos de Venezuela,S.A.(61PDVSA'')- and the
  laundering ofproceeds ofthatconuption through bank accounts in M iam i. Law enforcem ent

  identised alm ost$1billion in transfersfrom PDVSA'Ssubsidiariesto bank accountsofvarious
  Venezuelan contractorsin South Florida.Based onw itnessinterviews,theinvestigation revealed

  a substantialam ountofm oney transferred from the contractors'accounts in M iam ias bribes for

  the beneft of Venezuelan governm ent officials. ln virtually a1l instances, the contractors

  laundered the bribesthrough shellcom orations orfrontpersonsto concealand disguise the nature

  ofthe transaction and the true recipientofthe bribes.

         8.     The investigation also revealed extensive corruption w ithin the V enezuelan

  criminaljusticesystem whereparticipantsdo notseek to resolve casesbased on evidence;but,
  instead,lookforSçsolutions''tocasesbymakingbribepaymentstoprosecutorsandjudges.
                                   D efendant's B ank A ccounts

         9.     The U nited Stateshasobtained defendant'sbank recordsform ultiple accountsheld

  in the defendant's nam e atB ank of A m erica in South Florida from 2012 through 2016. ln or


                                                 2
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  around October2014,the defendanttold U.S.authorities in a visa application thathe earned the

  equivalentofabout$12,000 peryearfrom hiswork in Venezuela.

         10.    From 2012 to 2016,thedefendant'sbank recordsshow approxim ately $3 m illion
  in inflow s to the defendant's accounts, prim arily from large round-dollar transfers from shell

  corporations with foreign barlk accounts linked to Co-conspirator 1. For exam ple,on or about

  April23,2013,the defendantreceived a wire transferofapproxim ately $500,000 from a Swiss

  bank accountfor a Panamanian company called W estern Cape Holding (ltW estern Cape'').
  Sim ilarly,on oraboutN ovem ber28,2014,the defendantreceived aw iretransferofapproxim ately

  $200,000 from an Austrian bank accountfora Belizean company called Eaton GlobalServices

  Limited (stEaton Globa1''). Based on bank records and witness statements,Co-conspirator 1
  controlsboth W estern Capeand Eaton Global.'

         11.    From 2012 to 2016,the defendant'sbank records show approximately $3 million
  in expendituresprim arily in the geographicalarea ofSouth Florida. Forexample,bank records

  show thatthedefendantpaid approxim ately $1m illion foraprivateaircraftandprivatepilot.Bank

  records show thatthe defendantspentmore than $600,000 in creditordebitcard purchases at

  storesprimarily in theSouth Floridaarea(including tensofthousandsofdollarsatluxury stores
  inBalHarbor,such asPradaandSalvatoreFerragamo),approximately $50,000inpaymentstoa
  luxury watch repairstore in Aventura,and approximately $40,000 in paym entsto a Venezuelan

  beauty pageantdirector.

         12.     0n oraboutM ay 18,2017,the United StatesDepartm entofTreasury placed the

  defendanton the Office ofForeign AssetControlsanctionslistfreezing hisassetsin the United



  1      Co-conspirator 1made otherpurchasesforthebenefitofthe defendant. Forexample,in oraround April
         2017,Co-conspirator 1 paid approximately $147,000 to a South Florida privatejetcompany forthe
         defendant'sfam ilyto fly from VenezuelatoChile.
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  Statesbecauseofaseriesofrulingsby theVenezuelan Suprem ecourtthatstrippedaway authority

  from theelected legislature ofVenezuela.

                                 Defendant's JudicialC orruption

         13.    The United States has obtained testim onial and docum entary evidence from

  multiple witnesses detailing defendant's personalreceipt of money and property as bribes to

  influence the outcom e of civiland crim inalcases in Venezuela overthe last severalyears. As

  described by thesewitnesses,and corroborated by othersources,thedefendantreceivedthebribes

  in exchange forjudicial actions, such as directing lower-courtjudges to release particular
  defendantsorto dism issparticularcases.

         14. ConfidentialW itness 1 (ç1CW 1'') is an associate ofthe defendantwho hashad
  extensivepersonalinteractionswith the defendant.z CW lstated thatthe defendantreceived bribe

  paymentsforjudicialactionsin atleasttwenty differentmatters.CW 1statedthatthedefendant
  primarily received bribe paym ents in cash; however,Co-conspirator 1,nm ong others, also

  received bribepaym entsforthebenefk ofthedefendant.

         15. ConfidentialW itness2 (çiCW 2'')isan attorney in Venezuela who had personal
  interactionswith thedefendant.3 cw 2stated thatthedefendantreceived bribepaymentsin atleast

  three crim inalm attersinvolving CW 2.

         Corruption in CivilCases
         16.    CW 1stated thatthe defendantreceived bribesin m ultiple m attersto influencethe

   outcome ofcivilcasesin Venezuela.

   2     Law enforcementhasdebriefedCW lon multipleoccasionsin thepastand his/hcrinform ation hasproven
         reliable. Law enforcementhascorroborated thisinformation with independentwitnessesand documentary
         evidence,includingtextm essages.
         Law enforcementhasdebriefedCW 2 on multipleoccasionsin the pastand his/herinformationhasproven
         rcliable. Law enforcem enthascorroborated thisinfonnation with independentwitnessesanddocumentary
         evidence,includingtextmessagesand emails.

                                                    4
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                 For exam ple, CW 1 explained that the defendant had involvem ent in a case

  involving certain Venezuelan auto dealerssuing GeneralMotors(ttGM '')in Venezuela. In or
  around April2017,Venezuela seized GM 'scarassembly plantin Valenciaplzrsuantto a seizure

  orderrelating to the auto dealers'case. The GM plantemployed thousands ofVenezuelansand

  had an estim ated value of$100 m illion. As a resultofthe seizure,GM ceased operationsand
  exited Venezuela.

         18.     CW 1 confirmed thatthe defendantpersonally directed the issuance ofthe order

  relatingtotheseizurein theGM case. CW 1statedthat,in exchangeforthedefendant'sassistance,

  the defendanthad an agreem entwith the attorney forthe auto dealers to receive a signifk ant

  percentage ofthe proceeds resulting from the sale ofG M 'sp1ant.4

         Corruption in Crim inalCases

         19.     CW 1 identiûed m ultiple crim inal cases in V enezuela for w hich the defendant

  received bribe paym entsto resolve m atters.

         20.     For exnm ple, CW 1 explained that the defendant currently lives in a luxurious

  residence in the Alto Hatillo area in Caracas. CW 1 stated thatdefendantreceived this residence

  asa giftfrom an individualcharged in the United Stateswith am ultibillion dollarfraud scheme

  with PDVSA. CW 1 stated that the defendant helped get the individual's case dism issed in

  Venezuela.s cw l further stated that the defendanthad an expensive watch collection atthe

  residence,including atleastone w atch thatcosts atleasta m illion dollars.


  4      Todate,thecurrentownersoftheplanthavenotfoundapurchaserfortheplantand,therefore,thedefendant
         hasnotreceivedhisstake.

         ConfidentialW imess 3 C1CW 3'')isaconfidantoftheAttorney GeneralofVenezuela. CW 3 hasbeen
         dcbriefedby U .S.law enforcem entand his/herinform ation hasbeen proven reliableand been corroborated
         by independentwimesses. CW 3 stated thathe/she heard aconversation between thedcfendant'sassistant
         andtheVenezuelan Attorney Generalwherethe assistantrequested thattheVenezuelanprosecutor'soffice
         dism issthecascagainstthisindividual.
'



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             21.     CW 2 corroborated the corruptactions ofthe defendantin criminalcases.6 CW 2

      explained thathe/shehad acloserelationship with the defendant'sassistantand would frequently

      visitthe defendant'soffice. On a daily basis,the defendant'sassistantreceived a listofpersons

      arrested in Venezuela with the charge against the arrestee. CW 2 stated thatthe defendant's

      assistanthighlightedfinancialcrimecases(ratherthandrugorviolentcrimecases)forreview with
      thedefendantbecausetheseindividualscould afford to makebribepaymentsto thedefendant.

             22.     On at leastone occasion,while in the office ofthe defendant's assistantin the

      Venezuelan Supreme Court, CW 2 stated he/she observed the defendant speaking with the

      defendant's assistantby video phone chatand discussing a particularcase. On this call,CW 2

      heard the defendant state that the case could be resolved for Sçfifty-thousand or one-hundred                    '
                                                                                                                       k
                                                                                                                       :
      thousand dollars.'' CW 2 understood that the defendant sought a personal paym ent of tifty-                      (
                                                                                                                       (
      thousand orone- hundred thousand dollarsforrelease ofthe individualfrom custody.                                 t
                                                                                                                       )
                                                                                                                       T
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      Defendant'sReceiptofaBribefrom M iamiinNovember2017                                                          t
                                                                                                                       )
             23.     CW 1 and CW 2 had directknowledge ofa case involving a bribe paym entfrom                         y
                                                                                                                       !

      M iami for the beneûtof the defendantin colmection with the proposed release of a PDVSA                      )
                                                                                                                   .
                                                                                                                   iy
                                                                                                                       (
      contractor(lfcontractor1'')from custody.                                                                     C
                                                                                                                   '
                                                                                                                   R
                                                                                                                       j
                                                                                                                   )
             24.     CW 2 represented Contractor 1 in V enezuela in connection w ith his/her detention             f
                                                                                                                   t
      on chargesofalleged corruption involving PDVSA contracts.                                                    j
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                                                                                                                   l
                                                                                                                       )
                                                                                                                   y
                                                                                                                   l(.
      6      CW 2alsohaddirectknowledgeofcorruptionw ithintheVenezuelanprosecutor'soffice.Forexam plc,CW 2
             explainedthattheVenezuelan prosecutor'soffkehad an investigation ofcorruption involving acontractor   )
             who had contractswith PDVSA (ççcontractor2'9). CW2 explaincd that,in early 2017,he/shearrangeda       t
             Private m eeting at a residence in Venezuela between Contractor 2 and a Venezuelan prosecutor         7
             (ssprosecutor1''). CW 2explainedthat,atthismeeting,Contractor2andProsecutor1negotiatedanamount        i
                                                                                                                   è.
             for the personalbenefit ofProsecutor 1 to resolve the case againstContractor2. During the m eeting,
             Contractor2 requested a loweram ountto pay Prosecutor 1because Contractor2 stated thathe/sheknew      '
                                                                                                                   L
                                                                                                                   ,


             m any individualsatPD VSA thatcouldpay bribesin thefuturetoProsecutor1.Ultim ately,Contractor2and
             Prosecutor 1negotiated an agreementon aprice of$1m illion so thatthe Venezuelan prosecutor'softke     e
             wouldnotchargeContractor2.CW 2 helped arrangethepaym entofthisbribe.                                  @

                                                         6                                                         )
                                                                                                                   )
                                                                                                                   )
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             25.   CW 2 negotiatedwiththedefendant'sassistantand reached an agreem entto pay $1
  million forthe personalbenefitofthe defendantto secure the release ofContractor 1 on house

  ar
   *
     rest.

             26.   CW 1 had discussions with the defendantin the defendant's office in Venezuela

  where defendantagreed thathewould receive the $1million bribepaymentby having them oney
  directed for the purchase of a building in the com m ercial district of Las M ercedes in Caracas,

  V enezuela.

             27.   CW 2 said thatContractor2 agreedto makethepaym entofthe$1m illion bribe for
  thereleaseofContractor 1.From 2014 to 2017,Contractor2 received over$100 m illion into his
  companies'bankaccountsin M iam ifrom inflatedcontractswith PDVSA subsidiaries.TheUnited

  Stateshasobtained substantialevidence- in the form ofwitnessstatem ents,bribe ledgers,and

  underlying contracts- that Contractor 2 obtained these inflated contracts by paying bribes to

  ofticialsatthePDVSA subsidiariesin violation ofVenezuelan law.

             28.   On oraboutN ovember17,2017,Contractor2transferredapproxim ately $1m illion

  from a Bank ofAmerica account in M iami(thatcorruptly received funds from a PDVSA
  subsidiary)toabankaccountbelongingtoanassociateinM iami.Onthatsnmeday,theassociate
  ofContractor2 transferred approximately $700,000 to a bank accountin Puerto Rico controlled
  by the ow nerofthe building in LasM ercedes.

             29.   CW 2 provided wire transferdocumentation thatthe rem aining $300,000 payment
  came from abank accountin Panamato abank accountin Portugalbelonging to theownerofthe

  building in LasM ercedes.

             30.   Thebank in Puerto Rico thatreceived the$700,000transferraised questionsabout

  the source ofthe fundsand requested supporting documentation to justify the transfer. CW 2


                                                 7
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   provided copiesof W hatsApp com munications with an associate ofthe defendantregarding the

   additionaldocum entation.

         @       Defendant'sAssociate to CW 2 (December4,2017): fçBrotherthe700 are still
                 frozen from the beneficiary account. They will release once a11 the required
                 docum entsrequired by the bank have been completed ...only thing m issing m.
                                                                                            e
                 bank recordsfrom theBank ofAm erica.''
         @       CW 2 to Defendant's Associate (December 4,2017): çsBrotheritwas already
                 solicited. Thereference from the bank and owneroftheaccountisin Venezuela.
                 They won'tprovide itonline.''

   CW 2providedthegovernmentwithcopiesoffalseandfraudulentloandocumentsusedtojustify
   the transferofthe funds forthe $700,000 transferto the bank. These docum ents falsely and
   fraudulently indicated thatContractor2'sassociatehadprovidedaloan;when,in truth and in fact,

   the money wasnota loan. lnstead,CW 2 used thedocumentsto concealand disguisethenature

   ofthetransaction andthetruerecipientofthe funds.

         31.     CW 1 stated that,as a resultofthe $1 m illion dollarpaymentin thismatter,the
  defendantcurrently ownsthebuilding in LasM ercedesthrough anom inee company and ownerin

  V enezuela.

         32.     In or around early 2018,Contractor 1 had not been released frona custody in

  Venezuela. CW 2 went to the defendant's office in the Suprem e Courtof Venezuela. Upon

  entering theoffice,thedefendantraised thevolume ofthe television inhisoffice. The defendant

  pointed down and indicated thathe had received the bribe paym entand thatContractor 1would

  bereleased from detention.;

                 Based on the foregoing,1respectfully subm itthatthere isprobable cause to support

  the following crim inalviolationsin the Southern D istrictof Florida:


  7      Contractor1hasnotbeenreleasedfrom custody inVenezuela.CW 3explainedthattheVenezuelanAttonwy
         G eneralwouldnotagreetothereleaseofContractor1becauseofapersonalanim ositytow ardthefam ilyof
         Contractor l.

                                                  8
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         @     Between in or arotmd 2012, through in or around 2018, the defendant did
               knowingly and willfully,that is,with the intentto further the objectof the
               conspiracy,and knowingly conspire,confederate and agree with persons known
               and unknow n,to know ingly engage in a m onetary transaction by,through,and to a
               financial institution, affecting interstate and foreign com m erce in crim inally
               derived property ofavaluegreaterthan $10,000 such propertyhavingbeen derived
               from speciûed unlaw f'ulactivity,in violation of Title 18, United States Code,
               Section 1957.

               It is further alleged that the specified unlawful activity is an offense against a
               foreign nationinvolvingbriberyofapublicofûcial,andthemisappropriation,theft,
               and em bezzlem entofpublic fundsby and forthe benetk ofa publicofficial,a11in
               violation ofTitle 18,UnitedStatesCode,Section 1956(h).
         @     On oraboutNovem ber17,2017,thedefendantdidknowingly engagein am onetary
               transaction, by, through, and to a financial institution, affecting interstate and
               foreign comm erce,in criminally derived property ofa value greaterthan $10,000,
               thatis,a $700,000 transferfrom a bank accountin M iam ito a bank accountin
               Puerto Rico,such property having been derived from specifed unlawfulactivity,
               thatis,offensesagainstaforeign nation,specifically Venezuela,involving bribery
               ofa public official,and the m isappropriation,theft,and embezzlem entofpublic
               f'
                unds by and forthe benefitofa public official,in violation ofTitle 18,United
               StatesCode,Sections 1957 and 2.

   Furtheryouraflantsayeth naught.


                                              Shauna i a d
                                              SpecialA ent,H SI
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   swomtoan subs '             be emethis//dayofMarch,2020 in M iam i,Florida.
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   John J. ' ullv
   United s tes gistrateJudge




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